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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

' UNITED STATES OF AMERICA,

Plaintiff, y

Defendant.

 

 

 

 

AT SEATTLE

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oRDER coNTINUING '
CoNDITIoNs oF RELEASE

An Indictment having been returned against the above-named defendant, now

therefore

IT IS ORDERED that conditions of release be continued as previously set.

DATED this ;§_fh day Of Auggsr, 2017`.

ORDER CONTINUING - 1
CONDITIONS OF RELEASE

 

UNITiED STATES MAGISTRATE JUDGE

UNITED STATES ATTORNEY
700 Stewart Street, Suite 5220
Seattle, Washington 98101-1271
(206) 553-7970

 

